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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND
                                SOUTHERN DIVISION



LORI KOONTZ,

     Plaintiff,

          v.
                                                     Civil Action No. 8:12-cv-00407-AW
RADIOLOGISTS ON CALL, LLC et al.,

     Defendants.


                                             ORDER

     Plaintiff has filed a stipulation of dismissal with prejudice.

     IT IS, this 3rd day of December, 2013, by the U.S. District Court for the District of

Maryland, hereby ORDERED:

     1)        That the Court APPROVES Plaintiff’s stipulation of dismissal (Doc. No. 44);

     2)        That the Clerk CLOSE the case;

     3)        That the Clerk transmit a copy of this Order to all counsel of record.



    December 3, 2013                                                                /s/
         Date                                                         Alexander Williams, Jr.
                                                                      United States District Judge




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